                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

LARRY D. REID, ET AL.                                 )
                                                      ) CASE NO.1:21:CV-00991
           Plaintiffs,                                )
                                                      ) JUDGE JAMES GWEN
  v.                                                  )
                                                      )
DARRYL MOORE                                          ) STIPULATED LEAVE TO PLEAD
                                                      )
           Defendant.                                 )
                                                      )

       Defendant DARRYL MOORE and LARRY D. REID ET AL. by and through counsel and

pursuant to Local Rule, hereby stipulate to an extension of FOURTEEN(14) days, until on or

before June 26, 2021, for these Defendants to answer, move or otherwise plead in response to

Plaintiff’s Complaint. No prior extension has been requested or granted and this stipulation is

not made for the purpose of delay.



                                                 Respectfully submitted,


/s/ Fred D. Middleton____________                /s/ Raymond V. Vasari Jr. Telephone approval
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Attorney for Defendant
                                                 Attorneys for PLaintiffs
                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of June, 2021, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. The parties may access this filing through the Court’s system.



                                                        /s/ Fred D. Middleton_______
                                                        Fred D. Middleton (0025555)




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